                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,                             )
                                                       )
                       Plaintiff,                      )      No. 3:05-CR-146
 V.                                                    )      (PHILLIPS/SHIRLEY)
                                                       )
                                                       )
 ROBERT ANTOINE TRUSS,                                 )
 MICHAEL DEWAYNE DILLARD, and                          )
 JASMINE DESREKA CROWLEY,                              )
                                                       )
                       Defendants.                     )

                                MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This matter came before the Court on February 21, 2006, for a

 scheduled pretrial conference and motion hearing. Assistant United States Attorney Steve Cook was

 present representing the government. Attorney Ursula Bailey was present representing Defendant

 Truss, Attorney Dennis Francis was present representing Defendant Dillard, and Attorney Stephen

 Johnson was present representing Defendant Crowley. Defendants Truss and Dillard were present

 as well. Defendant Crowley received permission to miss the hearing because Defendant Crowley

 has a signed plea agreement.

                At the hearing, the Court took up the following pending motions:

                (1) Withdrawal of motions as to Defendant Crowley [Docs. 35, 37,
                50, 57, 58, 60, 62, 64, 66, 67];

                (2) Defendant Truss’ Motion To Adopt Pleadings Of Co-
                Defendant [Doc. 69], filed on February 2, 2006;


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            (3) Defendant Dillard’s Motion To Adopt Pleadings Of Co-
            Defendants [Doc. 71], filed on February 2, 2006;

            (4) Defendant Truss’ Motion For Additional Detention Hearing
            [Doc. 70], filed on February 2, 2006;

            (5) Defendant Truss’ Motion For On The Record Findings
            Pursuant to Rules 403 and 404 [Doc. 39], filed January 31, 2006;

            (6) Defendant Truss’ Motion For Notice By The Government
            Pursuant To Rule 12(d)(2) Of Its Intention To Use Evidence
            Arguably Subject To Suppression [Doc. 40], filed January 31,
            2006;

            (7) Defendant Truss’ Motion For 30-Day Pretrial Notice of
            Government’s Intention To Use 404(b)-Type Evidence [Doc. 41],
            filed January 31, 2006;

            (8) Defendant Truss’ Motion For Pretrial Notice of FRE Rule 608
            Evidence Of Character Or Conduct The Government Intends To
            Offer Or FRE 609 Impeachment Evidence [Doc. 42], filed January
            31, 2006;

            (9) Defendant Truss’ Motion For Notice of Government’s
            Intention To Use Residual Hearsay Exceptions Pursuant to Rule
            807 [Doc. 43], filed January 31, 2006;

            (10) Defendant Truss’ Motion For Bill of Particulars [Doc. 44],
            filed January 31, 2006;

            (11) Defendant Truss’ Specific Brady Request No. 1 [Doc. 45],
            filed January 31, 2006;

            (12) Defendant Truss’ Motion For All Agents, Officers And
            Employees To Disclose and Provide Evidence In Their Possession,
            Custody Or Control To The Prosecuting Attorney [Doc. 46], filed
            January 31, 2006;

            (13) Defendant Truss’ Motion For The Automatic And/Or Early
            Production Of Jencks/Rule 26.2 Statements [Doc. 47], filed
            January 31, 2006;

            (14) Defendant Truss’ Motion For Disclosure Of Jury Instructions
            And Rulings On Request [Doc. 48], filed January 31, 2006;

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                (15) Defendant Truss’ Motion For Pretrial Production Of
                Statements Of Individuals Not To Be Called As Witnesses [Doc.
                49], filed January 31, 2006;

                (16) Defendant Truss’ Motion To Preserve Evidence And For
                Independent Testing [Doc. 51], filed January 31, 2006;

                (17) Defendant Truss’ Motion For Government’s Agents, Officers
                And Attorneys To Retain Rough Notes [Doc. 53], filed January 31,
                2006;

                (18) Defendant Truss’ Motion For Leave To File Additional
                Motions [Doc. 55], filed January 31, 2006; and

                (19) Defendant Truss’ oral motion for a continuance of the trial.

                                           I. ANALYSIS

                The Court will endeavor to address the defendants’ motions largely in the order

 that the parties elected to present their arguments at the motion hearing.



                          A. DEFENDANT CROWLEY’S MOTIONS

                Defendant Crowley has filed ten motions [Docs. 35, 37, 50, 57, 58, 60, 62, 64, 66,

 67] on various discovery, conspiracy and exculpatory evidence issues. At the February 21 hearing,

 counsel for Crowley stated that the defendant had a signed plea agreement and had scheduled a

 change of plea. Counsel moved to withdraw the defendant’s motions. The Court finds that the

 defendant entered a change of plea in this case on February 22, 2006. Accordingly, the defendant’s

 ten pending motions [Docs. 35, 37, 50, 57, 58, 60, 62, 64, 66, 67] are DENIED as moot as to

 Defendant Crowley only.



                       B. ADOPT PLEADINGS OF CO-DEFENDANTS


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                On February 2, 2006, Defendant Truss and Defendant Dillard filed general motions

 [Docs. 69 and 71] asking the Court to allow them to adopt the pleadings filed by co-defendants “as

 they relate to the conspiracy, discovery and the exclusion of his statement.” Initially, the Court

 notes that the appropriate practice is for the moving party to specify the motions they seek to adopt.

 In other words, there is no blanket “opt-in” practice. However, since Defendant Truss and

 Defendant Dillard did not specify the motions they seek to adopt, these defendants will be deemed

 to have adopted all the parties’ motions. Therefore, a ruling on one motion will be a ruling as to all

 parties. As such, the Court will expect the parties to be prepared to argue any motion they have

 adopted, even if the party who filed the motion is no longer pursuing that motion, unless the parties

 amend their motions to list the specific motions of co-defendants they seek to adopt. The

 government has filed no response to the defendants’ requests [Doc. 69 and 71] to adopt. The Court

 has reviewed these motions, and the defendants’ requests [Doc. 69 and 71] to adopt these motions

 is GRANTED.

                          C. ADDITIONAL DETENTION HEARING

                Defendant Truss moves [Doc. 70] the Court for an additional Detention Hearing. He

 contends that new information has come to light after the Court ordered [Doc. 18] that he be

 detained pending trial on March 6, 2006, following a January 5, 2006 detention hearing.

 Specifically, the defendant avers that there is evidence that supports his pretrial release contained

 in the discovery supplied by the government. The government responds [Doc. 75] that while the

 defendant avers there is new evidence to support his release, he has not provided that information

 and therefore the standard set forth in Section 3142(f) has not been met. At the February 21 hearing,

 counsel for Defendant Dillard stated that the defendant did not seek to adopt this motion.


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                        The Bail Reform Act provides for the reopening of a detention hearing where

 the judicial officer finds that “information exists that was not known to the movant at the time of the

 hearing and that has a material bearing on the issue of whether there are conditions of release that

 will reasonably assure the appearance of the person as required and the safety of any other person

 and the community." 18 U.S.C. § 3142(f); see United States v. Wisman, 103 F.3d 131, 1996 WL

 683755, *1 (6th Cir. 1996). The Court finds that, at the February 21 hearing, while defense counsel

 proffered that she had additional information that was not known to the defendant at the time of the

 detention hearing, counsel did not specify what that evidence was or how it was material to the

 defendant’s release. Because the defendant has not provided, either by motion or by proffer, any

 information, pursuant to 18 U.S.C. § 3142(f), that would enable the Court to make the requisite

 findings to reopen a hearing, the defendant’s Motion For Additional Hearing [Doc. 70] is DENIED.




                               D. RULE 404(b)-TYPE EVIDENCE

                Defendant Truss asks [Doc. 39] the Court to exclude from trial any Rule 404(b)

 evidence of other wrongs, crimes or acts until an on-the-record determination is made by the trial

 court. The defendant contends that: “Rule 404(b) of the Federal Rules of Evidence provides that

 evidence of other wrongs, crimes or acts is not admissible unless it meets specific and narrowly

 defined requirements and unless its probative value outweighs the danger of unfair prejudice,

 confusion of the issues, or misleading the jury.”




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                The government responds [Doc. 75] that Rule 404(b) is “actually a rule of inclusion

 rather than exclusion” and that evidence may be excluded “only where the probative value of the

 relevant evidence is substantially outweighed by the danger of unfair prejudice.” It contends that

 the defendant has improperly attempted to seek to be relieved of an obligation to identify and timely

 object to evidence which the defendant believes is inadmissible.

                As both parties acknowledge in their respective pleadings [Doc. 39 and 75], “in the

 [Sixth] Circuit when the defense objects to the admissibility of evidence of other wrongs, crimes or

 acts the trial court should conduct a balancing determination on the record before admitting the

 evidence.” United States v. Acosta-Cavares, 878 F.2d 945, 950 (6th Cir. 1989). The present case

 is set for trial before District Court Judge Thomas Phillips, and thus, any on the record findings

 made pursuant to Rules 403 and 404 is a matter to be taken up at trial and in the context of the

 evidence admitted. Accordingly, the defendant’s Motion For On The Record Findings Pursuant to

 403 and 404 [Doc. 39] is DENIED.

                Defendant Truss also asks [Doc. 41] the Court to order the government to provide

 thirty (30) day notice prior to trial of any evidence sought to be introduced against the Defendant

 under Rule 404(b), Fed. R. Evid. The government responds [Doc. 41] that it intends to comply with

 the Court’s Order on Discovery and Scheduling [Doc. 9], which directs that it give seven (7)

 calendar days pretrial notice of Rule 404(b) evidence that it intends to use at trial.

                Rule 404(b) provides that upon the defendant’s request, the government “shall

 provide reasonable notice in advance of trial, or during trial if the court excuses pretrial notice for

 good cause shown, of the general nature of any such evidence it intends to introduce at trial.” Fed.

 R. Evid. 404(b). This Court’s Order on Discovery and Scheduling [Doc. 9, para. I] states that

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 “reasonable notice” under Rule 404(b) is deemed to be seven calendar days before trial unless the

 Court notes otherwise. At the February 21 hearing in this case, defense counsel gave no compelling

 need for an earlier disclosure, and the Court finds no reason to disturb the seven-day time frame

 provided in the Order on Discovery and Scheduling. Accordingly, the defendant’s Motion for

 Notice of Any Rule 404(b) Evidence the Government Seeks to Introduce at Trial [Doc. 41] is

 DENIED in light of the fact that the Order on Scheduling and Discovery already adequately

 provides for pretrial notice of the government’s intention to introduce 404(b) evidence.




                                 E. RULE 12(b)(4) EVIDENCE

                Defendant Truss asks [Doc. 40] the Court to order the government “to make inquiry

 and to serve and file specific written notice and designations” under Rule 12(d)(2) of the Federal

 Rules of Criminal Procedure. The defendant contends that the Rule 12(d)(2) motion calls upon the

 government to advise the defendant of evidence which may arguably be subject to challenge or

 suppression. Furthermore, the defendant contends that specific identification of Rule 12(d)(2)

 evidence is essential to enable counsel to prepare effectively, to conserve judicial time and

 resources, and if appropriate, to afford an opportunity to move to suppress.

                The government responds [Doc. 75] by first noting that Rule 12(d)(2) was modified

 and moved in 2002 to Rule 12(b)(4). The government states that the clear purpose of Rule 12(b)(4)

 is to obviate the need for unnecessary suppression hearings. It contends that the rule requires it

 (upon the defendant’s request) to state its intention to use any evidence that the defendant may be

 entitled to discover under Rule 16. The government notes that the discovery in this case is not



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 voluminous, and furthermore expressly states that the government intends to use all the evidence

 provided during discovery in its case-in-chief.

                 At the February 21 hearing, the defendant argued that while the government has

 provided the defendant with a copy of the search warrant, it has not provided an inventory of the

 property seized. The government objected to having to give the defendant a copy of the inventory

 and stated that while it was not required to give the defendant a copy of the search warrant, it had

 provided a copy as a matter of courtesy. The government further reiterated that the defendant

 already has all the evidence it intends to use in its case-in-chief.

                 Rule 12(b)(4)(B) (formerly, Rule 12(d)) requires the government upon request of the

 defendant to give notice to the defendant of the government’s intent to use certain evidence at trial. The

 rule is limited in scope. By its own terms, it is limited to evidence the defendant would be entitled to

 discover under Rule 16, Federal Rules of Criminal Procedure. It also explicitly limits disclosure to

 evidence the government intends to use in its case-in-chief. Furthermore, this “provision contemplates

 motions filed in preparation for actual or potential motions to suppress evidence.” United States v.

 Lanier, 578 F.2d 1246, 1254 (8th Cir. 1978). Rule 12(b)(4)(B) is not designed nor intended to be used

 to obtain more specific discovery than that provided by Rule 16. Rather, Rule 12(b)(4)(B) is intended

 to facilitate the making of pretrial suppression motions by allowing the defendant to avoid filing a

 motion to suppress when the government does not intend to use the evidence.

                 In this case, counsel for the government has indicated that it has in fact provided

 all discovery required by Rule 16, and furthermore, stated that it intends to use all of the evidence

 provided during discovery in its case-in-chief. For these and the above mentioned reasons, the Court




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 finds that the defendant has received the evidence sought, except perhaps the search warrant

 inventory. As to the inventory, the government is to provide this to the defendant.

                Accordingly, the defendant’s Motion For Notice By The Government Pursuant to

 Rule 12(d)(2) Of Its Intention To Use Evidence Arguably Subject To Suppression [Doc. 40] is

 DENIED as moot in light of the fact that the government has given notice of its intention to use all

 the evidence provided during discovery in its case-in-chief.




                              F. NOTICE of FRE 608, 609 and 807

                Defendant Truss moves [Doc. 42] the Court, pursuant to Rule 12(d)(2) of the Federal

 Rules of Criminal Procedure, to order the government to provide notice of its intent to use F.R.E.

 Rule 608 or 609 evidence in this case. He contends that pretrial notice of this evidence is necessary

 in order for him to be prepared to exclude and or defend against it. He also requests a pretrial, jury-

 out hearing on the admissibility of this evidence. The government responds [75] that Rules 608 and

 609 are rules of evidence, not discovery rules, and that Rule 12(d)(2) or Rule 12(b)(4) add nothing.

 Furthermore, it stated that it does not have a witness list from the defendant.

                The defendant seeks notice of the government’s intention to use evidence under Rule

 12 of the Federal Rules of Criminal Procedure, which provides

                At the arraignment or as soon afterward as practicable, the defendant
                may, in order to have an opportunity to move to suppress evidence
                under Rule 12(b)(3)(C), request notice of the government’s intent to
                use (in its evidence-in-chief at trial) any evidence that the defendant
                may be entitled to discover under Rule 16.




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Fed. R. Crim. P. 12(b)(4)(B); see also Tenn. R. Crim. P. 12(d)(2) (corresponding state rule

referenced by the defendant). The Court notes that in its Order on Discovery and Scheduling [Doc.

9, paras. A-B], it has already ordered the government to provide the defendant with the discovery

to which he is entitled pursuant to Rule 16. Specifically, the Court has ordered [Doc. 9, para. A(2)]

the government to give the defendant a copy of his arrest and conviction record. While Rule 16

directs the government to provide the defendant with a copy of his prior criminal record upon his

request, it does not require the government to reveal whether it intends to use any prior convictions

to impeach the defendant at trial. See Fed. R. Crim. P. 16(a)(1)(D).

               Rule 608, Fed. R. Evid.1, permits a party to challenge the credibility of a witness by

introducing evidence of the witness’s reputation for truthfulness or untruthfulness. Rule 609, Fed.

R. Evid., outlines the circumstances under which a witness may be impeached by evidence of a

criminal conviction. Neither of these rules requires the government to give pretrial notice that it

intends to use this type of evidence, except that it must give notice of an intent to use a conviction

that is over ten years old. See Fed. R. Evid. 608, 609(b).

               Furthermore, the Court questions the practical applicability of Rule 12(b)(4) to

require notice of evidence under these rules, especially Rule 609, as they deal with impeachment

evidence and Rule 12(b)(4) applies to evidence to be used in the government’s case-in-chief.


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         “[E]vidence of truthful character is admissible only after the character of the witness for
truthfulness has been attacked by opinion or reputation evidence or otherwise.” Fed. R. Evid.
608(a). The rule does not permit the parties to introduce extrinsic evidence, other than a criminal
conviction pursuant to Rule 609, to prove specific instances of conduct for truthfulness. Fed. R.
Evid. 608(b). A court has discretion to permit cross-examination of a witness about specific
instances of conduct probative of truthfulness or untruthfulness if the questioning relates to the
witness’s character for truthfulness or untruthfulness or to the truthful or untruthful character of
another witness about whom the testifying witness has testified. Fed. R. Evid. 608(b).

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Nevertheless, the Court recognizes that the “credibility of a witness may be attacked by any party,

including the party calling the witness.” Fed. R. Evid. 607. More importantly, the express purpose

of the government’s notice under Rule 12(b)(4) is to allow the defendant an opportunity to file a

motion to suppress the evidence before trial under Rule 12(B)(3). Fed. R. Crim. P. 12(b)(4)(A)-(B).

The defendant seeks notice of this evidence in order to attempt “to exclude” it, presumably by

arguing that it is inadmissible because it fails to meet the requirements of Rules 608 or 609, or to

defend against it at trial. Thus, the Court finds that Rule 12(b)(4) does not support the defendant’s

request for notice in this case.

                Additionally, in light of the fact that the government has not received a witness list

from the defendant, it can hardly be expected to provide notice of its intention to use F.R.E. 608 or

609 evidence with regard to these witnesses. In any event, the Court finds that the District Court,

to whom issues of the admissibility of evidence at trial are entrusted, will be in a better position to

determine whether a pretrial, jury-out hearing is in order and the admissibility of this evidence in

relation to the other evidence introduced at trial. Accordingly, the defendant’s Motion for Pretrial

Notice of FRE Rule 608 Evidence of Character or Conduct the Government Intends to Offer or FRE

609 Impeachment Evidence [Doc. 42] is DENIED.

                Defendant Truss moves [Doc. 43] the Court to require the government to provide

notice of its intent to offer any statements under the residual hearsay exception in Rule 807, Fed. R.

Evid. He requests the particulars of any such statement, including the name and address of the

declarant. See Fed. R. Evid. 807. He notes that Rule 807 requires the proponent of the hearsay to

advise the adverse party of the statement sufficiently in advance of trial to give the adverse party a




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fair opportunity to meet the evidence. Fed. R. Evid. 807. The government responds [Doc. 75] that

to the extent Defendant Truss’ motion seeks what is required by the rule, it is unnecessary.

               The Court finds that Defendant Truss is seeking nothing more than what is required

by F.R.E. Rule 807. Thus, Defendant Truss’ motion for notice of the government’s intent to use

residual hearsay [Doc. 43] is DENIED as moot.




                                  G. BILL OF PARTICULARS

               Defendant Truss asks [Doc. 44] the Court to require the government to provide a

bill of particulars with respect to the following:

               (1) Identify all unindicted co-conspirators and schemers known to the
               government who were in any way involved in the conspiracy charged
               in the indictment and particularize their participation, including dates,
               in said charges;


               (2) Particularize the date on which the government alleges Defendant
               Truss allegedly joined the conspiracy;


               (3) The exact amount of “cocaine base” or “crack” that Defendant
               Truss is alleged to have “knowingly, intentionally and without
               authority, combine, conspire, confederate and agree...with others
               to...to manufacture, distribute and possess with to distribute” as
               charged in Counts 1 and 2 of the indictment;


               (4) The method by which the firearm which Defendant Truss is
               alleged to have carried furthered his alleged drug trafficking crimes;


               (5) Defendant Truss also moves to join the requests for a Bill of
               Particulars filed by Defendant Dillard on January 24, 2006 on counts
               that are common to both defendants.



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Additionally, Defendant Dillard asks [Doc. 31] the Court to require the government to provide a

bill of particulars with respect to the following, as to Count One:

               (1) The exact language, word, or words allegedly used by the
               Defendants which allegedly indicated, or tended to indicate, that they
               willingly, intentionally, and knowingly agreed to commit the crimes
               charged in the indictment;


               (2) The places (cities, states, street addresses, apartment numbers)
               where Michael Dewayne Dillard allegedly committed the crimes
               charged;


               (3) The names and addresses of person or persons present or listening
               when Michael Dewayne Dillard allegedly committed the crimes
               charged;


               (4) The names and addresses of person or persons present or who
               have firsthand knowledge of the amount of the alleged controlled
               substance that was the purported aim of the alleged conspiracy;


               (5) With regard to the allegation of the conspiracy, the following:
                       (i) What other acts the alleged conspirators committed;
                       (ii) The names and addresses of witnesses present
                       when the alleged acts were committed;


               (6) The nature of act and the date, time, and place of said act by
               which Michael Dewayne Dillard first manifested that he was part of
               the alleged conspiracy. Stated differently, what is the first act
               Defendant is accused of committing in furtherance of the alleged
               conspiracy;


               (7) The names of non-indicted, but identified, alleged co-conspirators
               of Michael Dewayne Dillard, including those whose names may have
               become known since the return of the indictment, or the names of
               those person whom the government deleted or omitted from the
               indictment.



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Each defendant contends that he need this information in order to prepare his defense adequately,

to avoid unfair surprise at trial, and to protect against double jeopardy. Each also argues that

conspiracy charges deserve special scrutiny and that the Court should make sure that the defendant

is apprised of the approximate date each co-conspirator joined or withdrew from the conspiracy and

the identity of all unindicted co-conspirators. Each argues that this information is critical to allow

him to prepare to challenge the admissibility of co-conspirator hearsay statements under Rule

801(d)(2)(E), Fed. R. Evid. The Court has already permitted [Docs. 69 and 71] each defendant to

adopt the pleadings of his co-defendants.

               The government responds [Doc. 75 and 76] that the defendants are not entitled to this

information. It contends that each defendant is seeking discovery of its evidence and legal theories

through a bill of particulars. It argues that the Court has already ordered discovery and that the

indictment fully informs the defendant of the charges. Furthermore, the government contends that

the instant case is not complex and covers only a three (3) day time span. Additionally, it states that

during discovery, it provided photographs and video tape footage of the location searched and items

seized.

               At the February 21 hearing, the defendants argued that the conspiracy charge

contained in Count One of the indictment simply tracks the language of the statute as written by

Congress and therefore, does not adequately apprise the defendants of when they joined the

conspiracy. The defendants nonetheless agreed that the indictment informs the defendants of the

nature of the charges against them. They likewise agreed that the government has provided them

with photographs and video footage of the location searched and items seized.




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                Defendant Truss is charged [Doc. 3] in counts (One-Four) of the five count

indictment, while Defendant Dillard is charged [Doc. 3] in counts (One-Three) of the five count

indictment with: (Count One) conspiracy to distribute and possess with intent to distribute fifty (50)

grams or more of cocaine base, (Count Two) manufacture fifty (50) grams or more of cocaine base,

(Count Three) possess with intent to distribute fifty (50) grams of cocaine base, and Truss is charged

in (Count Four) with possession of a firearm in furtherance of drug trafficking crime, namely the

conspiracy to manufacture, distribute and possess with intent to distribute fifty (50) grams or more

of cocaine base. The conspiracy is alleged to have occurred from November 30, 2005 through

December 2, 2005. Counts two, three and four are alleged to have occurred on December 2, 2005.

Each count also indicates the amount of drugs involved, specifically, fifty (50) grams or more of

cocaine base.

                Federal Rule of Criminal Procedure 7(f) states that

                         [t]he court may direct the government to file a bill of
                         particulars. The defendant may move for a bill of
                         particulars before or within 10 days after arraignment
                         or at a later time if the court permits. The government
                         may amend a bill of particulars subject to such
                         conditions as justice requires.


“A bill of particulars is meant to be used as a tool to minimize surprise and assist defendant in

obtaining the information needed to prepare a defense and to preclude a second prosecution for the

same crimes. It is not meant as a tool for the defense to obtain detailed disclosure of all evidence held

by the government before trial.” United States v. Salisbury, 983 F.2d 1369, 1375 (6th Cir. 1993). The

granting of a bill of particulars is within the court’s discretion. See Id. (holding that the appellate court

reviews the denial of a bill of particulars for an abuse of discretion). The level of detail in the



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indictment can be a basis for denying the motion for a bill of particulars. Id. Additionally, “a

defendant is not entitled to a bill of particulars with respect to information which is available through

other sources.” United States v. Paulino, 935 F.2d 739, 750 (6th Cir. 1991), superseded on other

grounds by statute, United States v. Caseslorente, 220 F.3d 727 (6th Cir. 2000) (on sentencing

issue).

                In the present case, the defendants first seek to know the identities of unindicted co-

conspirators, their roles in the conspiracy and the dates of their involvement and other specifics

regarding witnesses present, places, and words used to show intent and knowledge. The Court notes

that “a defendant is not entitled to discover all the overt acts that might be proven at trial.”

Salisbury, 983 F.2d at 1375. Nor is the government required to furnish in a bill of particulars the

names of co-conspirators or other persons present when the defendant allegedly participated in the

conspiracy. United States v. Rey, 923 F.2d 1217, 1222 (6th Cir. 1991). In this respect,

                [a] defendant may be indicted and convicted despite the names of his
                co-conspirators remaining unknown, as long as the government
                presents evidence to establish an agreement between two or more
                persons, a prerequisite to obtaining a conspiracy conviction. As long
                as the indictment is valid, contains the elements of the offense, and
                gives notice to the defendant of the charges against him, it is not
                essential that a conspirator know all other conspirators. “It is the grand
                jury’s statement of the ‘existence of the conspiracy agreement rather
                than the identity of those who agree’ which places the defendant on
                notice of the charge he must be prepared to meet.”



Rey, 923 F.2d at 1222 (citations omitted) (quoting United States v. Piccolo, 723 F.2d 1234, 1239 (6th

Cir.1983), cert. denied, 466 U.S. 970 (1984) (quoting United States v. Davis, 679 F.2d 845, 851 (11th

Cir.1982)). Thus, the government is not required to reveal the names of unindicted co-conspirators.

United States v. Crayton, 357 F.3d 560, 568 (6th Cir. 2004).


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               Second, the defendants seek the date on which the government alleges that the

defendant joined, or first acted in furtherance of, the conspiracy. The Sixth Circuit has approved the

provision of the dates that a defendant is alleged to have conspired. See, e.g., Rey, 923 F.2d at 1222

(observing that the defendant knew the relevant dates in holding that he was not entitled to know the

names of co-conspirators). On the other hand, the court has also held that the failure to provide the

precise date that a defendant joined a conspiracy when the indictment alleged it lasted from “early

1987 to November 17, 1987,” was not error because “the indictment was not so vague that [the

defendant] could not discern the nature of the charges pending against him and the time frame in which

the alleged acts occurred, or that the indictment did not provide him with adequate information to

prepare a defense.” United States v. Hayes, 884 F.2d 1393, 1989 WL 105938, ** 3 (6th Cir. Sept. 14,

1989). In the present case, the indictment alleges that the conspiracy took place during a three day

time period, from November 30, 2005 through December 2, 2005. Additionally, the individual counts

of manufacturing and possession with intent to distribute cocaine base each have a specific date listed.

Thus, the Court finds that Count One is not vague as to the time frame of the conspiracy.

               The defendants also seek to know the exact quantity of cocaine that the government

intends to attribute to them and the method by which the firearm Defendant Truss allegedly carried

furthered his alleged drug trafficking crimes. A bill of particulars may not be used by a defendant

to obtain detailed disclosure of all evidence held by the government before trial. United States v.

Phibbs, 999F.2d 1053, 1086 (6th Cir. 1993). In other words, a bill of particulars is not to be used

as a general discovery device. United States v. Hayes, 884 F.2d 1393, 1989 WL 105937, *4 (6th

Cir. 1989) (unpublished opinion). Furthermore, “[f]ull discovery...obviates the need for a bill of

particulars.” United States v. Martin, 822 F.2d 1089, 1987 WL 38036, *3 (6th Cir. 1987). The



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Court finds that the indictment is sufficiently specific on the quantity of cocaine for the defendant

to know how much the government seeks to prove. Additionally, during discovery the government

provided the defendant with photographs and video tape footage of the location searched and items

seized. While the government is not required to divulge these details through a bill of particulars,

the Court finds that the defendants have, in fact, already received more details regarding the charges,

as well as evidentiary details regarding the “who, what, when, where and how” supporting those

charges.

                The Court finds that the indictment is sufficiently detailed to give the defendant notice

of the charges he is facing, to prevent unfair surprise at trial, and to prevent each defendant from twice

being placed in jeopardy for these offenses. Here, the defendants, in their requests for a Bill of

Particulars, are seeking details or particulars regarding evidence supporting the charges against him,

rather than details of the charges themselves, and as such, this request amounts to a general

discovery request. Accordingly, the defendants’ Motions for a Bill of Particulars [Doc. 44 and 31]

are DENIED.




                                H. SPECIFIC BRADY REQUEST

                Defendant Truss moves [Doc. 45] this Court, pursuant to Brady v. Maryland, 373

U.S. 83 (1963), to order the government to provide him with (1) copies of the (video and/or audio)

tapes made of the controlled buys that formed the basis for the search warrant issued for 274

Jefferson Ave., Oak Ridge, Anderson County, Tennessee on December 2, 2005; (2) copies of any

and all DEA-6 forms relating to Defendant Truss. The defendant notes that the Supreme Court has

emphasized that impeachment evidence, as well as exculpatory evidence, falls within the Brady rule.

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He also notes that the prosecution has a duty to disclose any favorable evidence that could be used

“in obtaining further evidence.” Defendant Truss also moves that the Court order the government

to produce the requested Brady materials pretrial.

                The government responds [Doc. 75] that it is aware of its duty and responsibility to

disclose exculpatory information pursuant to Brady and will comply with that obligation. It

furthermore contends that Defendant Truss provides no basis to believe that the information

requested contains any exculpatory information. At the February 21 hearing, Defendant Truss stated

that he did not have any evidence to indicate that the tapes would be directly exculpatory of the

defendant, but maintained that the tapes would be exculpatory to someone.

                Brady states that the government must disclose evidence favorable to the accused and

material to either guilt or punishment. Brady, 373 U.S. at 87. Evidence is material if “there is a

reasonable probability that, had the evidence been disclosed to the defense, the result of the

proceeding would have been different.” United States v. Bagley, 473 U.S. 667, 682 (1985); see also

Hamblin v. Mitchell, 354 F.3d 482, 495 (6th Cir. 2003). With regard to the disclosure required by

due process, the Supreme Court has rejected the notion that the definition of material evidence in

Brady should “focus on the impact of the undisclosed evidence on the defendant’s ability to prepare

for trial, rather than the materiality of the evidence to the issue of guilt or innocence.” United States

v. Agurs, 427 U.S. 97, 112 n.20 (1976); see also Presser, 844 F.2d 1275, 1282 (6th Cir. 1988).

Instead, Brady requires disclosure of “evidence which serves to impeach a government witness’

credibility and evidence which is directly exculpatory of the defendant,” but not “information relevant

to neither guilt nor credibility but which might be of use to the defendant in acquiring exculpatory




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or impeachment evidence that the defendant had thought was unavailable.” United States v. Mullins,

22 F.3d 1365, 1372 (6th Cir. 1994) (emphasis added).

               The Court’s Order on Discovery and Scheduling [Doc. 9, para. E.] provides:

               The government shall reveal to the defendant and permit inspection
               and copying of all information and material known to the government
               which may be favorable to the defendant on the issues of guilt or
               punishment within the scope of Brady v. Maryland, 373 U.S. 83
               (1963), United States v. Agurs, 427 U.S. 97 (1976) (exculpatory
               evidence), and United States v. Bagley, 473 U.S. 667 (1985)
               (impeachment evidence).


The Court finds that it has already ordered the government to turn over materials within the scope

of Brady. Furthermore, the defendant has not proffered any evidence to support his contention that

the information requested is exculpatory of the defendant. The government has acknowledged its

duty to disclose exculpatory evidence. Thus, Defendant Truss’ Specific Brady Request No. 1 [Doc.

45] is DENIED as moot.




     I. ALL AGENTS TO PROVIDE EVIDENCE TO PROSECUTING ATTORNEY

               Defendant Truss moves [Doc. 46] the Court for an order requiring all agents, officers

and employees of federal, state, and foreign agencies involved in the investigation and/or

prosecution of this action (or any related action) to disclose and provide to the prosecuting attorney

all evidence in their possession, custody or control. The defendant contends that the prosecuting

attorney cannot meet his Brady obligations unless all of the information, in the first instance, is

disclosed and made available to him. Citing Kyles v. Whitley, 514 U.S. 419 (1995), the defendant

argues that the “prosecutor has a duty to learn of any favorable evidence known to the others acting


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on the government’s behalf in the case, including the police.” He furthermore contends that

prosecutorial ignorance does not excuse this duty.

               The government responds [Doc. 75] that first Kyles v. Whitley cannot be read as (1)

imposing a duty on the prosecutor to learn of information by other government agencies that have

no involvement in the prosecution at issue, (2) to receive, review or maintain all irrelevant evidence

possessed by the investigating agencies, or (3) that all information and materials pertaining to a case

must be transferred from investigative agencies to the Office of the United States Attorney. Second,

the government contends that an order of this magnitude would impermissibly interfere with its

method for making such disclosures. It furthermore states that it is not equipped to be the repository

of all the information and material compiled in a case. Finally, the government notes that the

Defendant’s motion extends to “all materials” and contends that it is not prepared or equipped to

assume custody of all materials, like drugs, firearms, or contraband. The government notes that it

is aware of its obligations under Brady and Kyles and will comply with them.

               At the February 21 hearing, the defendant took specific issue with the fact that a

toxicology report had been completed on December 28, 2005, but was not provided to the

defendants until February 14, 2006. The defendant also claimed that the report did not contain

certain identifying information which he was entitled to receive. The government, on the other

hand, stated that it had immediately forwarded the DEA report to the defendants upon receiving it

and maintained that the report was a complete analysis. Furthermore, it contended that the

defendant’s motion is overly broad, in that it asks the Court to impose a greater duty on the

government than is contemplated under Kyles.




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                According to Brady v. Maryland, “the suppression by the prosecution of evidence

favorable to an accused...violates due process where the evidence is material either to guilt or to

punishment irrespective of the good faith or bad faith of the prosecution.” 373 U.S. 83, 87 (1963).

In order to comply with Brady, the “the individual prosecutor has a duty to learn of any favorable

evidence known to the others acting on the government’s behalf in this case, including the police.”

Kyles v. Whitley, 514 U.S. 419, 437 (1995). Supreme Court precedent does not, however, require

possession to trigger the prosecutor’s duty to disclose, and in fact, holds quite the opposite. In Kyles

the Court expressly rejected the state's argument that it had no duty to disclose materials known only

to the police and not to the prosecution. Id. at 438. Therefore, the Brady rule extends to evidence

“known only to police investigators and not to the prosecutor.” Strickler v. Greene, 527 U.S. 263,

280-81 (1999) (quoting Kyles, 514 U.S. at 438).

                The Court finds that while the defendant’s motion is broad and asks for “all

materials,” the issue addressed by the defendant at the hearing on this motion was narrow in scope.

Specifically, the defendant took issue with a DEA toxicology and chemist report. To the extent that

the defendant relies on its motion, the Court finds it overly broad in that the request appears to

impose a greater duty on the prosecutor in this case than that required by Kyles. To the extent that

the defendant questions the sufficiency of the DEA report, the government is guided by Rule

16(a)(1)(F)-(G) of the Federal Rules of Criminal Procedure, and is expected to comply with them

both. Accordingly, Defendant Truss’ motion [Doc. 46] is DENIED.




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                                J. JENCKS ACT MATERIALS

               In his Motion For The Automatic And/Or Early Production of Jencks/Rule 26.2

Statements [Doc. 47], Defendant Truss moves the Court for an order requiring the government to

provide the defense with all Jencks/Rule 26.2 statements prior to trial so as to facilitate cross-

examination and prevent delay of the trial. Alternatively, he requests that the Court order the

government to produce these statements automatically without defense counsel’s request after each

government witness testifies on direct examination. He also asks that he be granted an automatic

recess for defense counsel to review the statements. The government responds [Doc. 75] that prior

statements are discoverable only after the witness has testified on direct examination and the

defendant has made a motion for production. It further maintains that the defendant, without citing

any supporting authority, seeks to be relieved of his statutorily imposed obligation to make a timely

motion at the conclusion of the witness’s direct testimony.

               At the February 21 hearing, the defendant requested that the Court order the

government to provide Jencks material at least one (1) day before trial. The government stated that

while it contemplates providing statements prior to trial, it did not want to commit to that prior to

trial.

               The Jencks Act provides in pertinent part as follows:

               In any criminal prosecution brought by the United States, no
               statement or report in the possession of the United States which was
               made by a government witness or prospective government witness
               (other than the defendant) shall be the subject of subpoena, discovery,
               or inspection until said witness has testified on direct examination in
               the trial of the case.




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18 U.S.C. § 3500; see also Fed. R. Crim. P. 26.2. The Sixth Circuit has upheld the government’s

right under this statute to withhold witness statements or reports, even those that would be favorable

to the defendant’s defense, until after the witness testifies: “The clear and consistent rule of this

circuit is that the intent of Congress expressed in the Act must be adhered to and, thus, the

government may not be compelled to disclose Jencks Act material before trial.” United States v.

Presser, 844 F.2d 1275, 1283 (6th Cir. 1988).

               Although the Jencks Act permits the government to wait for disclosure until after the

witness testifies, the Sixth Circuit has encouraged the government to provide the information earlier

in appropriate cases in order to prevent delay at trial. See United States v. Minsky, 963 F.2d 870,

876 (6th Cir. 1992). Additionally, this Court’s Order on Discovery and Scheduling [Doc. 9, para.

O] also “strongly” encourages the early production of Jencks materials “as soon as possible and well

before the testimony of the government witness in order to avoid undue interruptions of trials.”

However, the Sixth Circuit recognizes that in some cases the government may have a substantial

reason for waiting until after the witnesses testimony to disclose the Jencks material. See United

States v. Algie, 667 F.2d 569, 572 (6th Cir. 1981).

               The Court notes that although early disclosure is encouraged by the Court, the

government’s decision to disclose any statements after the witness testifies at trial is authorized by

statute. Furthermore, the defendant’s expressed need for early disclosure, that of facilitating cross-

examination and preventing delay of the trial, is one that is present in every case. Thus, the Court

finds that the defendant has stated no compelling need for early disclosure. In any event, in the end,

this Court simply does not have authority to order the pretrial production of Jencks materials.




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Presser, 844 F.2d at 1283. Accordingly, the defendant’s request [Doc. 47] for early production of

Jencks materials is DENIED.

               Alternatively, the defendant asks that the government automatically give him Jencks

materials after the direct examination of each government witness and that the trial court

automatically take a recess following such production. He states that these measures are necessary

in order that the jury, who does not understand the procedural rules, will not perceive defense

counsel to be demanding, unprepared, or disruptive of the trial. The Court notes that these matters,

which relate to the orderly progression of the trial, fall within the province of the District Court.

Thus, the defendant’s request for automatic production and automatic recesses is DENIED, subject

to renewal with the trial judge.




                                   K. JURY INSTRUCTIONS

               Defendant Truss moves [Doc. 48] this Court to provide a copy of all instructions it

intends to give to the jury at the trial of this cause and to disclose to defense counsel the Court’s

ruling on requested jury instructions. The government responds [Doc. 75] that to the extent this

motion is already covered by Rule 30 of the Federal Rules of Criminal Procedure, it is unnecessary.

Nonetheless, it contends that it does not oppose the request.

               Where a party properly files a written request for the Court to instruct the jury “on

the law as specified in the request” under Rule 30 of the Federal Rules of Criminal Procedure, the

Court is required to inform counsel how it intends to rule on the requested instructions before

closing arguments. Fed. R. Crim. P. 30. Initially, the Court notes that the parties are guided by Rule


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30(a)-(d) of the Federal Rules of Criminal Procedure and are expected to comply with its

requirements. To the extent that the defendant seeks relief from this Court, it finds that the

defendant’s request is premature and, more importantly, that it does not comport with the

requirements as set forth in Rule 30. Accordingly, Defendant Truss’ motion [Doc. 48] is DENIED.




      L. STATEMENTS OF INDIVIDUALS NOT TO BE CALLED AS WITNESSES

                  Defendant Truss moves [Doc. 49] the Court to order the government to produce all

interviews, memoranda, and reports from interviews made with those persons whom the government

has determined not to call as witnesses. He contends that Rule 57, Fed. R. Crim. P.,2

and Brady compel disclosure. He further asserts that his request is grounded upon the government’s

constitutional obligations to disclose exculpatory information, including impeachment material. The

defendant argues that pretrial disclosure of this evidence is necessary in order to allow defense

counsel to locate and interview witnesses and to make effective use of the evidence at trial. The

government responds [Doc. 75] that to the extent the defendant’s motion requests discovery of

exculpatory material, the government is familiar with its obligations under Brady. However, to the

extent the defendant seeks discovery beyond that, it is inconsistent with Rule 16 of the Federal Rules

of Criminal Procedure and Sixth Circuit authority.




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            Rule 57 relates to the District Court’s adoption of local rules of court. Presumably, the defendant is
referring to Rule 57(b), Procedure When There Is No Controlling Law, which states that a “judge may regulate
practice in any manner consistent with federal law, these rules, and the local rules of the district.”

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                  The Court begins by noting that the government’s duty to disclose evidence

favorable to the accused and material to guilt or punishment does not require that it turn over its

entire file to the defendant. See Agurs, 427 U.S. at 111. Instead, “the government typically is the

sole judge of what evidence in its possession is subject to disclosure.” Presser, 844 F.2d 1275, 1282

(6th Cir. 1988). In exercising that discretion, the government acts at its own peril in failing to

disclose evidence that is covered by Brady and its progeny. See Id. at 1281.

               The evidence requested by the defendant in this motion–interviews, memoranda, and

reports from interviews with persons, whom the government will not call at trial,–is addressed by

the discovery rules:

               Except as Rule 16(a)(1) provides otherwise, this rule does not
               authorize the discovery or inspection of reports, memoranda, or other
               internal government documents made by an attorney for the
               government or other government agent in connection with
               investigating or prosecuting the case.


Fed. R. Crim. P. 16(a)(2). The Court finds that the evidence requested by the defendant falls within

the ambit of Rule 16(a)(2) and does not have to be disclosed unless it is also material and

exculpatory, in which case due process would compel disclosure. See Brady, 373 U.S. at 87;

Mullins, 22 F.3d at 1372. Additionally, Brady material that is not also subject to the Jencks Act must

be disclosed in time for the defendant to make effective use of it at trial. United States v. Farley, 2

F.3d 645, 654 (6th Cir.), cert. denied, 510 U.S. 1030 (1993).

               Accordingly, the defendant’s motion [Doc. 49] requesting disclosure of all interviews,

memoranda, and reports from interviews made with those persons whom the government has

determined not to call as witnesses is DENIED to the extent that it requests non-exculpatory



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evidence covered by Rule 16(a)(2). Furthermore, the government has acknowledged its obligations

under Brady. Thus, to the extent that the defendant asks for evidence that the Court has already

ordered the government to produce, governed by the timing obligation set forth in Presser, in its

scheduling order [Doc. 9], the defendant’s motion is DENIED as moot.




         M. PRESERVATION OF EVIDENCE AND INDEPENDENT TESTING

               Defendant Truss moves [Doc. 51] the Court to order the government to preserve any

substance alleged to be contraband in its original form and packaging, and to permit independent

testing and weighing of any such substance by the defendant. The government responds [Doc. 75]

that “the substance is currently being maintained by the Drug Enforcement Administration and under

their practices will not be destroyed until completion of the criminal proceedings in the instant case.”

               At the February 21 hearing, Defendant Truss stated that he had no intention of

testing the substance at this time. As to the issue of preserving the evidence, the government has

filed a written response stating that the substance is currently being maintained by the DEA and that

it will not be destroyed before completion of the trial. To the extent that the defendant seeks the

government to do anything more, the defendant’s motion [Doc. 51] is Denied as moot.




                       N. RETENTION OF AGENTS’ ROUGH NOTES

               Defendant Truss moves [Doc. 53] the Court for an order directing all state and federal

law enforcement officers and agents and all prosecuting attorneys who investigated the case to retain

all rough notes, writings, tape-recorded notes, computer-generated notes and computer data connected


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with their investigation of the case. The defendant argues that all rough notes, as defined by the

defendant, should be preserved so that the government can make a complete and thorough

determination regarding the requirements of disclosure of these materials under Brady. The

government responds [Doc. 75] that is does not object to the extent that the Court’s Order on

Discovery and Scheduling already [Doc. 9, para. H] covers this request, but does object to the extent

that the defendant’s request exceeds the Court’s order.

               The Court finds that it has already ordered [Doc. 9, para. H] the relief requested by

the defendant: “The government shall advise its agents and officers involved in this case to preserve

all rough notes.” The Court likewise finds that it has already ordered the government to turn over

materials within the scope of Brady [Doc. 9, para. E]. To the extent that the defendant seeks

anything beyond the Court’s Order, the defendant’s Motion For Agents To Retain Rough Notes [Doc.

53] is DENIED.




                      O. LEAVE TO FILE ADDITIONAL MOTIONS

               The defendant requests [Doc. 55] leave to file additional, unspecified motions outside

of his January 31, 2006 motion filing deadline. He argues that the government has not provided all

discovery to defense counsel and requests that he be allowed to supplement his motions after receipt

of all discovery. The government responds [Doc. 75] that other than the laboratory reports, it

believes that discovery has been provided and furthermore objects to an unconditional leave for the

defendant to file additional motions.




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               Absent any showing of the type of motion the defendant desires to file or of specific

need, the defendant’s Motion for Leave to File Additional Motions [Doc. 55] is DENIED. If the

defendant desires to file a specific motion, he may move for the Court’s leave to file that particular

motion.




                                P. CONTINUANCE OF TRIAL

               At the February 21 hearing, counsel for Defendant Truss made an oral motion to

continue the March 6, 2006 trial of this matter. Attorney Bailey indicated that she had not received

all discovery from the government and noted that the government had not filed any responses to the

motions filed by Defendant Crowley. Attorney Bailey also noted that the defense would need

additional time so that Defendant Truss could pursue his suppression motion. She furthermore stated

that she had discussed speedy trial rights with Defendant Truss and maintained that Defendant Truss

(1) understood his rights, (2) understood that he would remain in detention, and (3) wanted the judge

to continue his trial. At the hearing, Attorney Francis stated he had no objection to the requested

continuance. The Court questioned Defendant Dillard, who likewise stated that he did not object

to the continuance and understood that he would remain in custody pending the new trial date. The

government also did not object to the requested continuance.

               The Court finds that the ends of justice served by granting a continuance outweigh

the interest of the defendants and the public in a speedy trial. 18 U.S.C. § 3161(h)(8)(A). The Court

finds that the failure to grant a continuance would deprive the defendants of time to prepare for trial

in light of the reasons stated by Attorney Bailey. See 18 U.S.C. § 3161(h)(1)(F). As to Defendant

Truss’ Motion To Suppress, the Court will need time to hear the motion and to prepare a Report and

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Recommendation to the District Court on the motion. See 18 U.S.C. § 3161(h)(1)(J). Following

the filing of the Report and Recommendation, the parties need time to file any objections, and the

District Court will need time to rule upon the report and those objections. Finally, the parties will

need time to prepare for trial in light of the ruling on the suppression issues. The Court finds that

all of this could not take place before the March 6, 2006 trial date. Thus, without a continuance,

counsel would not have the reasonable time necessary to prepare for trial despite their use of due

diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv).

               The defendants’ request to continue the trial is GRANTED, and the trial of this

matter is reset to June 21, 2006. The Court also finds, and the parties agreed, that all the time

between the February 21, 2006 hearing and the new trial date of June 21, 2006, is fully excludable

time under the Speedy Trial Act for the reasons set forth herein. See 18 U.S.C. § 3161(h)(1)(F), (J),

and (h)(8)(A)-(B).

               With regard to further scheduling, a motion hearing is set for March 29, 2006 at 1:30

p.m., at which time all remaining motions will be heard. Counsel for Defendant Truss was granted

the opportunity to supplement her Motion to Suppress [Doc. 54] and has until February 28, 2006

to supplement said motion. The government has until March 14, 2006 to file any responses to the

remaining motions, including the motions filed by Defendant Crowley, adopted by Codefendants.




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                               II. CONCLUSION

        Accordingly, it is ordered:

        (1) In light of the fact that Defendant Crowley has entered a change
        of plea in this case, Defendant Crowley’s pending motions [Docs. 35,
        37, 50, 57, 58, 60, 62, 64, 66, 67] are DENIED as moot as to
        Defendant Crowley ONLY;


        (2) Defendant Truss’ and Defendant Dillard’s Motion to Adopt
        Pleading Of Co-Defendants [Docs. 69 and 71] are GRANTED;


        (3) Defendant Truss’ Motion For Additional Detention Hearing
        [Doc. 70] is DENIED;


        (4) Defendant Truss’ motions related to Rule 404(b)-Type Evidence
        [Docs. 39 and 41] are DENIED;


        (5) Defendant Truss’ motion related to Rule 12(b)(4) evidence [Doc.
        40] is DENIED as moot, but the government is to provide a copy of
        the search warrant inventory to the defendants;


        (6) Defendant Truss’ motion related to FRE 608 and 609 [Doc. 42]
        is DENIED;


        (7) Defendant Truss’ motion related to FRE 807 [Doc. 43] is
        DENIED as moot;


        (8) Defendant Truss’ Motion For A Bill Of Particulars [Doc. 44] and
        Defendant Dillard’s Motion For A Bill Of Particulars [31] are
        DENIED;


        (9) Defendant Truss’ Specific Brady Request No. 1 [Doc. 45] is
        DENIED as moot;


        (10) Defendant Truss’ motion for all agents to disclose and provide
        evidence to the prosecuting attorney [Doc. 46] is DENIED;

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        (11) Defendant Truss’ Motion For The Automatic And/Or Early
        Production Of Jencks/Rule 26.2 Statements [Doc. 47] is DENIED;


        (12) Defendant Truss’ Motion for Disclosure of Jury Instructions
        And Rulings On Requests [Doc. 48] is DENIED;


        (13) Defendant Truss’ Motion For Pretrial Production of Statements
        Of Individuals Not To Be Called As Witnesses [Doc. 49] is
        DENIED;


        (14) Defendant Truss’ Motion To Preserve Evidence And For
        Independent Testing [Doc. 51] is DENIED as moot;


        (15) Defendant Truss’ Motion For Agents To Retain Rough Notes
        [Doc. 53] is DENIED;


        (16) Defendant Truss’ Motion For Leave To File Additional Motions
        [Doc. 55] is DENIED;


        (17) The trial of this matter is reset to commence at 9:00 a.m., on
        June 21, 2006, before the Honorable Thomas W. Phillips, United
        States District Judge;


        (18) All the time between the Defendant’s oral motion to continue
        trial on February 21, 2006 and the new trial date of June 21, 2006, is
        fully excludable time under the Speedy Trial Act for the reasons set
        forth above;


        (19) A motion hearing is set for March 29, 2006, at 1:30 p.m., at
        which time all remaining motions will be heard, specifically [Docs.
        54, 62, 64, 66, 67, 77, 78];


        (20) Defendant Truss has until February 28, 2006 to supplement her
        motion to suppress [Doc. 54]; and




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        (21) The government has until March 14, 2006 to file any responses
        to the remaining motions, including the motions filed by Defendant
        Crowley, adopted by Codefendants.


        IT IS SO ORDERED.


                                         ENTER:


                                           s/ C. Clifford Shirley, Jr.
                                         United States Magistrate Judge




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